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                        Exhibit C
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From:                             Matthew L. Schwartz
Sent:                             Monday, November 27, 2017 1:04 PM
To:                               Mermelstein, Rebecca (USANYS); Quigley, Brendan (USANYS); Tekeei, Negar (USANYS);
                                  Brian R. .Blais (Brian.Blais@usdoj.gov); Griswold, Andrea (USANYS)
Subject:                          U.S. v. Galanis discovery question


Rebecca, et al. –

We received from the SEC this morning the below list of materials collected by the AAM receiver from various AAM
locations. The SEC has offered to make this material available to us in discovery, but directed us to you when I asked
whether any of this had already been produced as discovery in the criminal case. Can you please let me know if the
government has reviewed and/or produced any of the below? Thanks.

    •    Approximately 40 boxes of documents stored by AAM Alexandria and Stamford offices
    •    Servers, back up tapes collected from AAM by Receiver from AAM offices in Alexandria and
        Stamford
    •    Assorted materials collected by Receiver from AAM Alexandria and Stamford offices. Includes
        selected documents obtained by Receiver; additional hard drives from Alexandria and Kansas City (old);
        back up external harddrive of Stamford server; Daniel Turney’s back up external harddrive from
        Alexandria; keys, id cards and employee phones (excluding Morton’s); Hughes 2013 tax return; Service
        providers contracts; quick books data
    •    Emails from Intel (ISP for AAM Stamford).
    •    Quickbooks for AAM
    •    55 Desktop harddrives; 7 laptops and 10 other devices




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